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     EXHIBIT 10
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                                                                   United States Department of State
                                                                   Washington, D.C. 20520




RE: Certification of Visa Records of the Bureau of Consular Affairs, U.S. Department of State



          I, Larry W. Talbott hereby declare under penalty of perjury:


I am Deputy Director with the Office of Information Management and Liaison within the Visa
Office of the Bureau of Consular Affairs, U.S. Department of State. I am authorized to certify the
authenticity of visa records for the Bureau of Consular Affairs, including the visa records from the
Consular Consolidated Database. The Consular Consolidated Database contains records of U.S. visa
applications since 1997.

The attached documents are true, accurate and complete copies of the information contained in the
Consular Consolidated Database maintained by the U.S. Department of State, Bureau of Consular
Affairs, for the non-immigrant visa application submitted by Evgeny Yuryevich Fokin (Date of
Birth December 24, 1962) and adjudicated at the U.S. Embassy in Moscow (Control Number
2019259 520 0002). This record was made from the information provided by the visa applicant at or
near in time to when that information was transmitted to the Department of State. The record was
kept pursuant to the Department of State’s procedures for the adjudication and retention of visa
applications and was made as part of a regular practice.

I declare under the penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true and
correct to the best of my knowledge.




Washington, D.C.
August 8, 2024


                                                          Larry W. Talbott




                                 SENSITIVE BUT UNCLASSIFIED
                                                                                                   USAO_00021259
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 NIV Applicant Detail

 The United States Department of State/Bureau of Consular Affairs
 Sensitive But Unclassified (SBU)–Information Protected under INA 222(f) and 9 FAM 603: This information "shall be considered confidential" per Section
 222(f) of the Immigration and Nationality Act (INA) [8 U.S.C. Section 1202]. Access to and use of such information must be solely for the formulation, amendment,
 administration, or enforcement of the immigration, nationality, and other laws of the United States under INA 222(f) and 9 FAM 603. Do not access this information
 in anything other than an official capacity, and do not share it without the permission of the Department of State. If this record is for Visa Class LPR, the subject of
 the record is a lawful permanent resident of the U.S., and the personally identifiable information (PII) contained in the record is subject to the Privacy Act of 1974
 and must be protected in accordance with those provisions.


                                                                           REVOKED

                                                                           REVOKED
                                                                           REVOKED




                                                                           REVOKED
                                                                           REVOKED
                                                                           REVOKED




Issuing Post Name
  MOSCOW (MOS)
Surname
  FOKIN
Given Name
  EVGENY YURYEVICH

Control Number
 2019259 520 0002


Passport Number
 531227831, Regular

Gender
                                                          SENSITIVE BUT UNCLASSIFIED
                                                                                                                                                         USAO_00021260
              Case 1:23-cr-00016-JHR            Document 177-10   Filed 11/12/24   Page 4 of 18
 Male

Date of Birth
 24DEC1962

Nationality
 RUS


Place of Birth
 Russia (RUS)

City of Birth
 MOSCOW




Visa Data
Visa Class
Visitor For Business And Pleasure (B1/B2)
Issued
01-OCT-2019
Entries
M
Expires
29-SEP-2022
Foil Number
P1945849
Annotation
CLEARANCE RECEIVED 27-SEP-2019

Additional Case Notes
There are presently no additional case notes for this case.




                                             SENSITIVE BUT UNCLASSIFIED
                                                                                                  USAO_00021261
            Case 1:23-cr-00016-JHR           Document 177-10        Filed 11/12/24      Page 5 of 18




Adjudication History

 Adjud Date                    Status            Refusal       Section of Law   O/W?            Approval Date

   16-SEP (September)-2019     Refused           G             221(G)           Overcome           30-SEP-19

   16-SEP (September)-2019     Error

   30-SEP (September)-2019     Issued


Foil History

 Foil Number           Class           Printed                  Foil Status                Date Spoiled

 P1945849              B1/B2           01-OCT (October)-2019    Printed and passed QA       26-MAR (March)-2022




                                         SENSITIVE BUT UNCLASSIFIED
                                                                                                       USAO_00021262
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Application Data
Appointment Date

Birth Place City
MOSCOW
Passport Number
531227831
Passport Issue Date
07-DEC-2016
Passport City
MOSCOW RUS
Passport Book Number

Passport Expires
07-DEC-2026
Passport Country
RUS
Address
ULITSA PLUSHIKHA 42 APT 301
City
MOSCOW
Country
RUS
State

Postal Code
119121
Barcode Number
AA0096VL73
National ID

Employer
EN PLUS GROUP
Occupation
COMMUNICATIONS
Visa Type
Regular
Petitioner Name

STC Name

Telephone
79857654319 (home)
74956427937 (work)
74992617617 (other)
Email
EVGENYYF@ENPLUS.RU
Contact Name
DANIEL RUSSELL
Contact Phone(s)
2027399180
Arrival Date
06-NOV-2019
Misc Data
                                    SENSITIVE BUT UNCLASSIFIED
                                                                                        USAO_00021263
             Case 1:23-cr-00016-JHR            Document 177-10          Filed 11/12/24      Page 7 of 18
Associated Case(s)
There are presently no other cases known to be associated with this case.
NIV Online Application
View NIV Online Application Detail
Scanned Documents
Scan Batch

Date Scanned

Comments

0000369886

18-SEP-2019 09:44



Doc Number                                Doc Type                                  Duplex Part
1                                         APPLICATION                               Front

Scan Batch

Date Scanned

Comments
0000369887

18-SEP-2019 09:44



Doc Number                                Doc Type                                  Duplex Part
1                                         APPLICATION                               Front

Scan Batch

Date Scanned

Comments
0000369888

18-SEP-2019 09:44



Doc Number                                Doc Type                                  Duplex Part
1                                         APPLICATION                               Front

Scan Batch

Date Scanned

Comments

0000369889

18-SEP-2019 09:44



Doc Number                                Doc Type                                  Duplex Part
1                                         APPLICATION                               Front
                                           SENSITIVE BUT UNCLASSIFIED
                                                                                                           USAO_00021264
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Scan Batch

Date Scanned

Comments

0000369949
18-SEP-2019 15:30

Updated info (travel history)

Doc Number                              Doc Type                   Duplex Part
1                                       OTHER                      Front




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                                                                                           USAO_00021265
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7/23/24, 11:12 AM                                              CEAC DS-160 Report


 CEAC DS-160 Report - Sensitive But Unclassified(SBU)



                                                     BARCODE #:                                 Data Check Pending
       WORK, EDUCATION AND
                                                     AA0096VL73
    TRAINING
                                                     STATUS: SUBMITTED
     REMARKS
  Seq. Section           Remarks                                                                    Submit Date         Site
                                                                                                                        Code

     PERSONAL                                                               TRAVEL
  Name Provided:                  FOKIN, EVGENY                          The List of Purposes of Trip to the U.S.
  Full Name in Native             ФОКИН ЕВГЕНИЙ ЮРЬЕВИЧ                  (1) Purpose of Trip: TEMP. BUSINESS
  Language:                                                                                   PLEASURE VISITOR (B)
  Other Names Used:               NO                                         Specify:         BUSINESS & TOURISM
  Do you have a telecode that NO                                                              (TEMPORARY VISITOR)
  represents your name?                                                                       (B1/B2)
  Date of Birth:                  24 DECEMBER 1962                       Specific Travel      YES
  Country/Region of Birth:        NEW YORK, NEW YORK, UNITED             Plan?
                                  STATES OF AMERICA                      Date of Arrival in   06 NOVEMBER 2019
  Country/Region of Origin        RUSSIA                                 U.S.:
  (Nationality):                                                         Arrival City:        NEW YORK
  Do you hold or have you      NO                                        Date of Departure    09 NOVEMBER 2019
  held any nationality other                                             from U.S.:
  than the one indicated above                                           Departure City:      NEW YORK
  on nationality?
                                                                         The Location you plan to visit in the U.S.:
  Are you a permanent          NO
                                                                         (1) Location :        NEW YORK CITY
  resident of a country/region
  other than your                                                        Address where you HOTEL
  country/region of origin                                               will stay in the
  (nationality) indicated                                                U.S.:
  above?                                                                                      NEW YORK, NEW YORK
  Sex:                     MALE                                          Person/Entity        PRESENT EMPLOYER
  Marital Status:          MARRIED                                       Paying for Your
                                                                         Trip:
  National Identification DOES NOT APPLY
  Number:                                                                   TRAVEL COMPANION
  U.S. Social Security     578334443                                     Other Persons       NO
  Number:                                                                Traveling with You:
  U.S. Taxpayer ID         DOES NOT APPLY
  Number:
                                                                            US CONTACT
     PASSPORT                                                            Contact Person       RUSSELL, DANIEL
                                                                         Name in the U.S.:
  Passport/Travel Document        REGULAR                                Organization Name US-RUSSIA BUSINESS
  Type:                                                                  in the U.S.:      COUNCIL
  Passport/Travel Document        531227831                              Relationship to      BUSINESS ASSOCIATE
  Number:                                                                You:
  Passport Book Number:           DOES NOT APPLY                         U.S. Contact         1101 17TH STREET NW
  Country/Authority that          RUSSIA                                 Address:
  Issued Passport/Travel                                                                      WASHINGTON, DISTRICT OF
  Document:                                                                                   COLUMBIA 20036
  City Where Issued:              MOSCOW                                 Phone Number:        2027399180
  Country/Region Where            RUSSIA                                 Email Address:       dan.russell@usrbc.org
  Issued:
  Issuance Date:                  07 DECEMBER 2016
                                                                            PREVIOUS US TRAVEL
  Expiration Date:                07 DECEMBER 2026                       Have you ever        YES
  Have you ever lost a            NO                                     been in the U.S.?
  passport or had one stolen?
                                                                         Provide information on your last five U.S. visits:
                                              SENSITIVE BUT UNCLASSIFIED
                                                                                                                    USAO_00021266
               Case 1:23-cr-00016-JHR               Document 177-10       Filed 11/12/24          Page 10 of 18
7/23/24, 11:12 AM                                                  CEAC DS-160 Report
   WORK, EDUCATION AND TRAINING                                              (1) Date Arrived:     14 JULY 2019
                                                                                Length of Stay:    6 DAY(S)
  Present Work/Education/Training
                                                                             (2) Date Arrived:     14 MAY 2019
  Primary Occupation:              COMMUNICATIONS                               Length of Stay:    3 DAY(S)
  Present Employer or School       EN PLUS GROUP                             (3) Date Arrived:     09 APRIL 2019
  Name:
                                                                                Length of Stay:    4 DAY(S)
  Address:                         1 VASILISY KOZHINOY ULITSA
                                                                             (4) Date Arrived:     04 FEBRUARY 2018
  City:                            MOSCOW
                                                                                Length of Stay:    3 DAY(S)
  State/Province:                  DOES NOT APPLY
                                                                             (5) Date Arrived:     25 JANUARY 2018
  Postal Zone/Zip Code:            121096
                                                                                Length of Stay:    3 DAY(S)
  Country/Region:                  RUSSIA
                                                                             Do you or did you NO
  Employment Date From:            23 JANUARY 2012
                                                                             hold a U.S. Driver's
  Work Phone Number:               74956427937                               License?
  Monthly Income in Local          1300000
                                                                             Have you ever      YES
  Currency(if employed):
                                                                             been issued a U.S.
  Briefly Describe your Duties: DIRECTOR FOR INTERNATIONAL                   Visa?
                                COOPERATION
                                                                             Date Last Visa was 19 SEPTEMBER 2016
  Previous Work/Education/Training                                           Issued:
                                                                             Visa Number:         L4811225
  Were you previously              YES
                                                                             Are you applying     YES
  employed?
                                                                             for the same type
  (1) Employer Name:               BASIC ELEMENT COMPANY                     of visa?
       Employer Address:           ROCHDELSKAYA ULITSA 30                    Are you applying in YES
                                                                             the same country
       City:                       MOSCOW
                                                                             or location where
       State/Province:             DOES NOT APPLY                            the visa above was
       Postal Zone/Zip Code:       123022                                    issued, and is this
       Country/Region:             RUSSIA                                    country or location
                                                                             your place of
       Telephone Number:           74957205025                               principal of
       Job Title:                  DIRECTOR FOR PUBLIC RELATIONA             residence?
       Supervisor's Surnames:      OGANOV                                    Have you been        YES
       Supervisor's Given          GEORGY                                    ten-printed?
       Names:                                                                Has your U.S. Visa NO
       Employment Date From: 14 APRIL 2008                                   ever been lost or
                                                                             stolen?
       Employment Date To:         20 JANUARY 2012
                                                                             Has your U.S. Visa NO
       Briefly describe your       DIRECTOR FOR PUBLIC RELATIONS OF          ever been
       duties:                     BASIC ELEMENT COMPANY INCLUDING           cancelled or
                                   EN+ GROUP                                 revoked?
  Have you attended any            YES                                       Have you ever        NO
  educational institutions at a                                              been refused a
  secondary level or above?                                                  U.S. Visa, or been
                                                                             refused admission
  (1) Name of Institution:         MOSCOW STATE INSTITUTE OF
                                                                             to the United
                                   INTERNATIONAL RELATIONS MGIMO
                                                                             States, or
       Address of Institution:     PROSPECT VERNADSKOGO 76                   withdrawn your
       City:                       MOSCOW                                    application for
                                                                             admission at the
       State/Province:             DOES NOT APPLY
                                                                             port of entry?
       Postal Zone/ZIP Code:       119454
                                                                             Has anyone ever    NO
       Country/Region:             RUSSIA                                    filed an immigrant
       Course of Study:            INTERNATIONAL RELATIONS                   petition on your
       Date of Attendance          01 SEPTEMBER 1980                         behalf with the
       From:                                                                 United States
                                                                             Citizenship and
       Date of Attendance To:      15 JULY 1985                              Immigration
  Additional Work/Education/Training                                         Services?
                                                                               SECURITY AND BACKGROUND
  Do you belong to a clan or       NO
  tribe?                                                                     Part 1
  Provide a List of Languages You Speak
                                                                             Do you have a communicable disease of       NO
  (1) Language Name:              RUSSIAN                                    public health significance? (Communicable
  (2) Language Name:              ENGLISH                                    diseases of public significance include
                                                                             chancroid, gonorrhea, granuloma inguinale,
  (3) Language Name:              DANISH
                                                                             infectious leprosy, lymphogranuloma
                                                                             venereum, infectious stage syphilis, active
                                                  SENSITIVE BUT UNCLASSIFIED
                                                                                                                   USAO_00021267
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  Have you traveled to any     YES                                         tuberculosis, and other diseases as
  countries/regions within the                                             determined by the Department of Health
  last five years?                                                         and Human Services.)

  Provide a List of Countries/Regions Visited                              Do you have a mental or physical disorder        NO
                                                                           that poses or is likely to pose a threat to
  (1)     Country/Region:        UNITED STATES OF AMERICA                  the safety or welfare of yourself or others?
  (2)     Country/Region:        ARGENTINA
                                                                           Are you or have you ever been a drug             NO
  (3)     Country/Region:        AUSTRIA                                   abuser or addict?
  (4)     Country/Region:        BELGIUM
                                                                           Part 2
  (5)     Country/Region:        BULGARIA
  (6)     Country/Region:        CHINA                                     Have you ever been arrested or convicted         NO
  (7)     Country/Region:        DENMARK                                   for any offense or crime, even though
                                                                           subject of a pardon, amnesty, or other
  (8)     Country/Region:        CANADA
                                                                           similar action?
  (9)     Country/Region:        FRANCE
                                                                           Have you ever violated, or engaged in a          NO
  (10) Country/Region:           GERMANY
                                                                           conspiracy to violate, any law relating to
  (11) Country/Region:           HUNGARY                                   controlled substances?
  (12) Country/Region:           ISRAEL
                                                                           Are you coming to the United States to           NO
  (13) Country/Region:           ITALY                                     engage in prostitution or unlawful
  (14) Country/Region:           JAPAN                                     commercialized vice or have you been
                                                                           engaged in prostitution or procuring
  (15) Country/Region:           KOREA, REPUBLIC OF (SOUTH)
                                                                           prostitutes within the past 10 years?
  (16) Country/Region:           KOREA, DEMOCRATIC REPUBLIC OF
                                 (NORTH)                                   Have you ever been involved in, or do you        NO
                                                                           seek to engage in, money laundering?
  (17) Country/Region:           UNITED KINGDOM
  (18) Country/Region:           LITHUANIA                                 Have you ever committed or conspired to     NO
                                                                           commit a human trafficking offense in the
  (19) Country/Region:           MONGOLIA
                                                                           United States or outside the United States?
  (20) Country/Region:           MONTENEGRO
                                                                           Are you the spouse, son, or daughter of an NO
  (21) Country/Region:           MOROCCO
                                                                           individual who has committed or conspired
  (22) Country/Region:           POLAND                                    to commit a human trafficking offense in
  (23) Country/Region:           ROMANIA                                   the United States or outside the United
  (24) Country/Region:           SERBIA                                    States and have you within the last five
                                                                           years, knowingly benefited from the
  (25) Country/Region:           SLOVAKIA                                  trafficking activities?
  (26) Country/Region:           SOUTH AFRICA
                                                                           Have you ever knowingly aided, abetted,     NO
  (27) Country/Region:           SWITZERLAND                               assisted or colluded with an individual who
  (28) Country/Region:           SPAIN                                     has committed, or conspired to commit a
  (29) Country/Region:           TURKEY                                    severe human trafficking offense in the
                                                                           United States or outside the United States?
  Have you belonged to,         NO
  contributed to, or worked for                                            Part 3
  any professional, social, or
  charitable organization?                                                 Do you seek to engage in espionage,              NO
                                                                           sabotage, export control violations, or any
  Do you have any specialized YES                                          other illegal activity while in the United
  skills or training, including                                            States?
  firearms, explosives,
  nuclear, biological, or                                                  Do you seek to engage in terrorist activities NO
  chemical experience?                                                     while in the United States or have you ever
                                                                           engaged in terrorist activities?
  Explain: RESERVE OFFICERS TRAINING IN COLLEGE
                                                                           Have you ever or do you intend to provide        NO
  Have you ever served in the NO                                           financial assistance or other support to
  military?                                                                terrorists or terrorist organizations?
  Have you ever served in,       NO                                        Are you a member or representative of a          NO
  been a member of, or been                                                terrorist organization?
  involved with a paramilitary
  unit, vigilante unit, rebel                                              Have you ever ordered, incited, committed, NO
  group, guerrilla group, or                                               assisted, or otherwise participated in
  insurgent organization?                                                  genocide?

     ADDRESS AND PHONE                                                     Have you ever committed, ordered, incited, NO
                                                                           assisted, or otherwise participated in
  Home Address:               ULITSA PLUSHIKHA 42 APT 301                  torture?
  City:                       MOSCOW                                       Have you committed, ordered, incited,            NO
  State/Province:             DOES NOT APPLY                               assisted, or otherwise participated in
  Postal Zone/ZIP Code:       119121                                       extrajudicial killings, political killings, or
                                                                           other acts of violence?
  Country/Region:             RUSSIA
  Same Mailing Address?       YES                                          Have you ever engaged in the recruitment         NO
                                                SENSITIVE BUT UNCLASSIFIED
                                                                                                                        USAO_00021268
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  Primary Phone Number:         79857654319                                   or the use of child soldiers?
  Secondary Phone Number: 74992617617                                         Have you, while serving as a government       NO
  Work Phone Number:            74956427937                                   official, been responsible for or directly
                                                                              carried out, at any time, particularly severe
  Email Address: evgenyyf@enplus.ru                                           violations of religious freedom?
  (1) Social Media       FACEBOOK                                             Have you ever been directly involved in the NO
      Provider/Platform:                                                      establishment or enforcement of population
      Social Media User HTTPS://WWW.FACEBOOK.COM/EVGENY.FOKIN.49              controls forcing a woman to undergo an
      ID:                                                                     abortion against her free choice or a man or
                                                                              a woman to undergo sterilization against
     FAMILY
                                                                              his or her free will?
  Relatives                                                                   Have you ever been directly involved in the NO
                                                                              coercive transplantation of human organs
  Father's Surnames:              FOKIN                                       or bodily tissue?
  Father's Given Names:           YURI EVGENIEVICH
                                                                              Part 4
  Father's Date of Birth:         02 SEPTEMBER 1936
  Is your father in the U.S.?     NO                                          Have you ever been the subject of a          NO
  Mother's Surnames:              FOKINA                                      removal or deportation hearing?
  Mother's Given Names:           MAYA EVGENIEVNA                             Have you ever sought to obtain or assist   NO
  Mother's Date of Birth:         22 APRIL 1935                               others to obtain a visa, entry into the
                                                                              United States, or any other United States
  Is your mother in the U.S.?     NO                                          immigration benefit by fraud or willful
  Do you have any immediate NO                                                misrepresentation or other unlawful means?
  relatives, not including
  parents in the U.S.?                                                        Have you failed to attend a hearing on       NO
                                                                              removability or inadmissibility within the
  Do you have any other           NO                                          last five years?
  relatives in the United
  States?                                                                     Have you ever been unlawfully present,        NO
                                                                              overstayed the amount of time granted by
  Spouse                                                                      an immigration official or otherwise violated
                                                                              the terms of a U.S. visa?
  Spouse's Full Name:             FOKINA AKULKINA,ALLA
                                                                              Part 5
  Date of Birth:                  16 NOVEMBER 1963
  Country/Region of Origin        RUSSIA                                      Have you ever withheld custody of a U.S.     NO
  (Nationality):                                                              citizen child outside the United States from
  City of Birth:                  MOSCOW                                      a person granted legal custody by a U.S.
                                                                              court?
  Country/Region of Birth:        RUSSIA
  Address:                        OTHER (SPECIFY ADDRESS)                     Have you voted in the United States in       NO
                                                                              violation of any law or regulation?
  Street Address:                 SPARTAKOVSKAYA ULITSA 6 APT 39
  City:                           MOSCOW                                      Have you ever renounced United States        NO
                                                                              citizenship for the purpose of avoiding
  State/Province:                 DOES NOT APPLY
                                                                              taxation?
  Postal Zone/ZIP Code:           105066
                                                                              Have you attended a public elementary    NO
  Country/Region:                 RUSSIA
                                                                              school on student (F) status or a public
     LOCATION, PREPARER AND SUBMISSION                                        secondary school after November 30, 1996
                                                                              without reimbursing the school?
  Current Location

  Location where you will be submitting your           MOSCOW
  application:
  CEAC Version NO:                                     01.05.02

  Preparer of Application

  Did anyone assist you in filling out this application? NO

  Submission

  Creation IP Address:                                 195.210.172.26
  Submission IP Address:                               195.210.172.26
  Date of Submission:                                  02 AUGUST 2019
                                                       08:27:13 AM (GMT
                                                       -05.00)
     SIGN AND SUBMIT LANGUAGE

     Data Check Details
  Seq.              Data Check Type                                     Data Checked Date                            Site Code
                                                  SENSITIVE BUT UNCLASSIFIED
                                                                                                                       USAO_00021269
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          (1)                BIODATA VERIFIED W/TRAVEL DOC                         2019-09-16                 MOS

                                                                                                                     To
                                                                                                                    Top




  Enter the reason for reopening the applicant’s DS-160 application below, then click “OK”. If you did not intend to
  reopen the DS-160 application, click “Cancel”.




      0         of 4000 characters entered.

  Note: Per VO guidance, once the DS-160 is reopened the applicant must resubmit the DS-160 before further NIV
  processing.



  Are you sure that you want to request the previous report to display?




                                              SENSITIVE BUT UNCLASSIFIED
                                                                                                           USAO_00021270
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Batch ID      0000369886
Seq Num       1




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                                                                                         USAO_00021271
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Batch ID      0000369887
Seq Num       1




                                    SENSITIVE BUT UNCLASSIFIED
                                                                                         USAO_00021272
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Batch ID      0000369888
Seq Num       1




                                    SENSITIVE BUT UNCLASSIFIED
                                                                                         USAO_00021273
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Seq Num       1




                                    SENSITIVE BUT UNCLASSIFIED
                                                                                         USAO_00021274
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Seq Num       1




                                    SENSITIVE BUT UNCLASSIFIED
                                                                                         USAO_00021275
